Case 2:18-cv-02505-NIQA Document 254-9 Filed 02/14/22 Page 1 of 3                                 EXHIBIT I
       From:            Hacdoaton eatric:k M
       To:              Courtney Yldales:             Justin Kaufman·
       Cc:              Titler·Unale les;lra L · McMlchael Lawrence G· Ford Tlmotbv 1
       Subject:         RE: Nupson v. Schnader, et al. (Defendants" Expert Witness Disclosures)
       Date:            Wednesday, January 26, 2022 3:39:02 PM
       Attachments:     Schnelder poc 27 odf
                        Feno Doc 152 odf
                        Feno Qoc 2 Pdf
                        Schnelder poc 16 odf
                        Schnelder Doc 19 pdf

       Courtney:
       In response to your email below, please see the attached documents:

       Fenn Report
       Doc 2 - attached, labeled
       Doc 152 - previously sent to you, but attached again and labeled

       Schneider Report
       Doc 16 - attached, labeled
       Doc 19 - attached, labeled
       Doc 27 - attached, labeled
       Doc 186 - BHICOZ022908

       Be well,
       Patrick

       PATRICK HARRINGTON   I DILWORTH PAXSON LLP
      1500 Market Street I Suite 3500E I Philadelphia, PA 19102
      Tel: (215) 575-7236 I Cell: (609) 276-6564 I Fax: (215) 754-4603
       pharrington@dilworrh)aw com I www dj)worrh)aw com

      From: Courtney Vidales [mailto:courtney@muccilaw.com]
      Sent: Wednesday, January 26, 2022 10:06 AM
      To: Harrington, Patrick M.; Tom Mucci; Justin Kaufman; Ben Davis
      Cc: Titler-Lingle, Jessica L.; McMichael, Lawrence G.; Ford, Timothy J.
      Subject: RE: Nupson v. Schnader, et al. (Defendants' Expert Witness Disclosures)

      Patrick,

      Thank you for providing these documents. It is much appreciated. However, would you please
      identify the Bates Nos. for documents 2 and 152 on Fenn's Appendix B. Without the Bates numbers,
      we are unable to locate them in the voluminous discovery documents and the versions you provided
      do not have a Bates Number listed on them.


      Also, in reviewing Pam Schneider's report we are unable to locate, and no Bates Numbers are
      identified in her report, documents 16, 19, 27, and 186. If you would please identify the bates
      numbers or produce the same documents reviewed by your expert.

      Thank you,
Case 2:18-cv-02505-NIQA Document 254-9 Filed 02/14/22 Page 2 of 3

     Courtney Johnson Vidales, Esq.
     Mucci Law Firm
     1600 Rio Grande Blvd. NW
     Albuquerque, NM 87104
     courtney@muccilaw com
     Office: (SOS} 247-2211




     From: Harrington, Patrick M.<pharrington@dilworthlaw.com>
     Sent: Thursday, January 20, 2022 10:S9 AM
     To: Tom Mucci <tom@muccilaw.com>; Justin Kaufman <jkaufman@dpslawgroup.com>; Brian
     Gordon <briangordon249@gmail.com>; Ben Davis <bdavis@daviskelin.com>; Courtney Vidales
     <courtney@muccilaw.com>
     Cc: Titler-Lingle, Jessica L. <jtitler-lingle@dilworthlaw.com>; McMichael, Lawrence G.
     <lmcmichael@dilworthlaw.com>; Ford, Timothy J. <tford@dilworthlaw.com>
     Subject: RE: Nupson v. Schnader, et al. (Defendants' Expert Witness Disclosures}

     I'm using Mimecast to share large files with you. Please see the attached instructions.

     Courtney:
     Attached, please find installment 2 of2 of the highlighted documents in Appendix B. Please note
     that with regard to no. 145, "Capital IQ" is an online database which provides financial data that
     links to certain of our expert's models via formulas. Capital IQ is more of a source than a specific
     file. By way of example, your Stout report references Capital IQ as a source on many of their
     exhibits but not in their list of information considered.
     Patrick

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     pharrington@dilworth)aw com I www dHworth)aw com

     From: Courtney Vidales [mailto·courtney@muccilaw com]
     Sent: Tuesday, January 18, 2022 5:53 PM
     To: Harrington, Patrick M.; Ben Davis; Brian Gordon; Tom Mucci; Justin Kaufman
     Cc: Titler-Lingle, Jessica L.; Ford, Timothy J.; McMichael, Lawrence G.
     Subject: RE: Nupson v. Schnader, et al. (Defendants' Expert Witness Disclosures)

     Patrick,


      Would you please provide copies of the highlighted items on the attached Appendix B of Finn's
      report. We were able to locate the items that are not highlighted. If the items were produced in
      discovery, please identify the Bates Numbers.

      Thank you,
Case 2:18-cv-02505-NIQA Document 254-9 Filed 02/14/22 Page 3 of 3

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      Albuquerque, NM 87104
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      Office : (505) 247-2211




     From: Harrington, Patrick M. <pharrjngton@dj/worthlaw com>
     Sent: Friday, January 14, 2022 3:00 PM
     To: Ben Davis <bdayjs@dayjske/io com>; Brian Gordon <brjangordon249@gmaj/ com>; Courtney
     Vidales <courtney@muccilaw com>; Tom Mucci <tom@muccjlaw com>; Justin Kaufman
     <jkaufman@dpslawgroup com>
     Cc: Titler-Lingle, Jessica L. <jtjtler-ljngle@djlworthlaw com>; Ford, Timothy J.
     <tford@djlworth/aw com>; McMichael, Lawrence G. <lmcmjchae/@dj/worth/aw com>
     Subject: Nupson v. Schnader, et al. (Defendants' Expert Witness Disclosures)

     I'm using Mimecast to share large files with you. Please see the attached instructions.

     Counsel :
     Attached, please find copies of Defendants' Expert Witness Disclosures, which are being produced
     subject the confidentiality order in this matter, and a certificate of service regarding the same.
     Be well ,
     Patrick

     PATRICK HARRINGTON           I DILWORTH PAXSON LLP
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    Tel: (215) 575-7236 I Cell: (609) 276-6564 I Fax: (215) 754-4603
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